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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                 Case No. 1:16-cv-08637
 LITIGATION

 This Document Relates To:

 All Commercial and Institutional Indirect
 Purchaser Plaintiff Actions



 MEMORANDUM OF LAW IN SUPPORT OF COMMERCIAL AND INSTITUTIONAL
  INDIRECT PURCHASER PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

                              PUBLIC REDACTED VERSION




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  BSB                                         Boneless skinless chicken breast.

  Buy vs. Grow                                Programs implemented by certain Defendants
                                              whereby they cut their own Broiler
                                              production and operated in an oversold
                                              position, forcing them to buy the Broilers
                                              needed to fulfill contracts instead of growing
                                              Broilers.

  Case                                        Case Foods, Inc.; Case Farms, LLC; Case
                                              Farms Processing, Inc. Privately held.

  CIIPPs                                      Commercial and Institutional Indirect
                                              Purchaser Plaintiffs

  Class Period                                January 1, 2009, until July 31, 2019

  Class Representatives                       Fargo Stopping Center, LLC; Sargent’s
                                              Restaurant and Lounge; Wildwood Tavern,
                                              LLC; Bodega Brew Pub, Inc.; Sullott
                                              Corporation; Chicken Joe’s, LLC; Eat This,
                                              Inc. dba Some Like It Hot; Alpine Special
                                              Treatment Center, Inc.; Tennis Bums, LLC
                                              dba Alabama Joes; Alabama Joe’s 2, Inc. dba
                                              Alabama Joes; Tani Sushi Bistro, LLC;
                                              France 44 Foods, Inc.; Midtown Bar and Grill
                                              LLC; Avanti’s of Phoenix, Inc.; Floersch
                                              IGA, Inc. dba Ray’s Apple Market; Da Big
                                              Blue Enterprises Corp. dba Blue Tropix Bar
                                              and Grill and Da Big Kahuna Waikiki; Little
                                              Figs, Inc. dba Figaretti’s Restaurant; Alliance
                                              Healthcare System, Inc.; Mookie’s Southern
                                              Cuisine LLC; Eowyn, LLC dba Cabana;
                                              Peppers Grill & Bar, Inc.; Daliano’s, Inc. dba
                                              Daliono’s; Sumner Country Restaurant &
                                              Creamery LLC dba Kelley’s Row Restaurant
                                              & Pub; Bashara & Company, LC dba J.
                                              Morgan’s Steakhouse; Tic-Tac-O; Brix
                                              Tavern, LLC; Pancho’s Taqueria, Inc. dba
                                              Pancho’s Taqueria; Roost Fried Chicken
                                              LLC; Oregano Italian LLC dba Oregano
                                              Italian Kitchen; Bordenaro’s Pizza, Inc. dba
                                              Bordenaro’s Pizza, Telavi Hospitality, Inc.
                                              dba Levante; and FB Mall, LLC dba Fat
                                              Belly’s




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  Claxton                                 Claxton Poultry Farms, Inc.; Norman W.
                                          Fries, Inc. dba Claxton Poultry Farms, Inc.

  Dark meat                               Thighs and other dark meat portions of the
                                          chicken.

  Defendants                              Koch Foods; Tyson; Pilgrim’s; Perdue;
                                          Sanderson Farms; Wayne Farms; Mountaire;
                                          Peco Foods; Foster Farms; House of Raeford;
                                          Simmons; Fieldale Farms; George’s; O.K.
                                          Foods; Claxton; Harrison; Mar-Jac; Agri-
                                          Stats; Amick; Case.

  Distributors / Direct Purchasers        Middlemen entities that purchase Broilers
                                          directly from Defendants for one price, mark
                                          up the price, and sell it to members of the
                                          CIIPP class for another price. Includes Direct
                                          Action Plaintiffs ("DAPs") and Direct
                                          Purchaser Plaintiffs ("DPPs").

  EMI                                     Express Markets, Inc., subsidiary of Agri-
                                          Stats, releases daily pricing data to both
                                          Defendants and potential purchasers of
                                          Broilers, though the reporting service costs
                                          thousands of dollars and is not publicly
                                          available. EMI reports capture all transactions
                                          by Broiler producers, who automatically
                                          transmit invoice information electronically
                                          from each transaction to EMI. The reports
                                          include all sales volume information from the
                                          previous day, including the size of containers,
                                          type of cut, whether the product was chilled
                                          with ice or CO2, the price, and numerous
                                          other pieces of information.

  EUCPs / End Users                       End User Consumer Plaintiffs.

  Ex.                                     Exhibit to Declaration of Adam Zapala in
                                          Support of Commercial and Institutional
                                          Indirect Purchaser Plaintiffs’ Motion for
                                          Class Certification (“Zapala Declaration”).

  Fieldale Farms                          Fieldale Farms Corporation. Privately held.

  Foster Farms                            Foster Farms, LLC; Foster Poultry Farms.
                                          Privately held.


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  George's                                 George’s, Inc.; George’s Farms, Inc. Privately
                                           held.

  Georgia Dock                             A weekly price quote released by the Poultry
                                           Market News (“PMN”) division of the
                                           Georgia Department of Agriculture each
                                           Wednesday. The nine companies that
                                           participated were Pilgrims, Tyson, Sanderson,
                                           Wayne Farms, Koch, Fieldale, Mar Jac,
                                           Claxton, and Harrison.

  Harrison                                 Harrison Poultry, Inc.

  House of Raeford                         House of Raeford Farms, Inc. Privately held.

  Indirect Purchaser States                Arizona, California, District of Columbia,
                                           Florida, Hawaii, Iowa, Illinois, Kansas,
                                           Massachusetts, Maine, Michigan, Minnesota,
                                           Missouri, Mississippi, Montana, North
                                           Carolina, North Dakota, Nebraska, New
                                           Hampshire, New Mexico, Nevada, New York,
                                           Oregon, Rhode Island, South Carolina, South
                                           Dakota, Tennessee, Utah, Vermont,
                                           Wisconsin, West Virginia

  IPPE                                     International Producers and Processors Expo,
                                           the world's largest annual poultry, meat, and
                                           feed industry event welcoming a wide-range
                                           of international decision-makers to network
                                           and learn about the latest issues facing the
                                           industry.

  Keystone Foods                           Keystone Foods, Inc.; Keystone Foods
                                           Corporation; Keystone Foods Equity Group;
                                           Keystone Foods LLC; Equity Group
                                           Kentucky Division LLC; Equity Group –
                                           Georgia Division LLC.

  Koch Foods                               Koch Foods, Inc.; JCG Foods of Alabama,
                                           LLC; JCG Foods of Georgia, LLC; Koch
                                           Meat Co., Inc. Koch Foods, Inc. is privately
                                           held.

  Mar-Jac                                  Mar-Jac Poultry, Inc.; Mar-Jac Poultry MS,
                                           LLC; Mar-Jac Poultry AL, LLC; Mar-Jac


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                                          AL/MS, Inc.; Mar-Jac Poultry, LLC; Mar-Jac
                                          Holdings, LLC.

  Mountaire                               Mountaire Farms, Inc.; Mountaire Farms,
                                          LLC; Mountaire Farms of Delaware, Inc.
                                          Privately held.
  NCC                                     National Chicken Council, represents
                                          integrated chicken producer-processors, the
                                          companies that produce, process and market
                                          chickens. There are approximately 40
                                          member companies of NCC and they account
                                          for approximately 95 percent of the chicken
                                          sold in the United States. The CEOs of the top
                                          integrated Broiler producers are routinely on
                                          the board of directors and meet at least
                                          quarterly with one another through the NCC.
                                          Every Defendant and Co-Conspirator is a
                                          member of the NCC.

  O.K. Foods                              O.K. Foods, Inc.; O.K. Farms, Inc.; O.K.
                                          Industries, Inc.

  Peco Foods                              Peco Foods, Inc. Privately held.

  Perdue                                  Perdue Farms, Inc.; Perdue Foods LLC.
                                          Privately held.

  Pilgrim's                               Pilgrim's Pride Corporation. JBS USA
                                          Holdings, Inc. holds a 75.3% controlling
                                          interest in Pilgrim’s Pride Corporation.
                                          Pilgrim's Pride Corporation and JBS USA
                                          Holdings, Inc. are subsidiaries of JBS S.A., a
                                          Brazilian corporation headquartered in Sao
                                          Paulo, Brazil.

  Producer Co-Conspirators                Allen Harim; Keystone Foods

  Pullet                                  A female breeder chicken under 25 weeks of
                                          age. Once pullets reach sexual maturity and
                                          can begin producing eggs, they are considered
                                          Breeders.

  Pullet / pullet placements              A pullet refers to a young hen, usually under
                                          one year of age. Once a chick develops
                                          feathers rather than down, it is then called a
                                          pullet if it is female.


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                                          Pullets purchased by Broiler companies then
                                          become Breeders. Pullet placement numbers
                                          are an indication of future Broiler supply.

  Rabobank                                A Dutch multinational banking and financial
                                          services company headquartered in Utrecht,
                                          Netherlands. It is a global leader in food and
                                          agriculture financing and sustainability-
                                          oriented banking. Rabobank specializes in
                                          providing financing to Broiler integrators and
                                          growers. Rabobank is a key Arlon Group
                                          investor.

  Sanderson Farms                         Sanderson Farms, Inc.; Sanderson Farms, Inc.
                                          (Foods Division); Sanderson Farms, Inc.
                                          (Production Division); Sanderson Farms, Inc.
                                          (Processing Division). Sometimes referred to
                                          as SAFM.

  Simmons                                 Simmons Foods, Inc.; Simmons Prepared
                                          Foods, Inc. Privately held.

  Southern Hens                           One of two primary sources for breeder hen
                                          slaughtering services to Defendants. As of
                                          2009, Defendants with ownership stake in
                                          Southern Hens included Foster Farms,
                                          George’s, Koch Foods, O.K. Foods, Peco
                                          Foods, Pilgrim’s, and Sanderson Farms.

  Tip Top Poultry                         One of two primary sources for breeder hen
                                          slaughtering services to Defendants. Members
                                          of Tip Top’s Alliance Advisory Board
                                          included Defendants Case Foods, Fieldale
                                          Farms, Harrison Poultry, House of Raeford,
                                          Mar-Jac Poultry, Mountaire Farms, Perdue,
                                          Pilgrim’s, and Wayne Farms as well as Co-
                                          Conspirators Allen Harim and Keystone
                                          Foods.

  Trial Plan                              CIIPPs’ Trial Plan

  Tyson                                   Tyson Foods, Inc.; Tyson Chicken, Inc.;
                                          Tyson Breeders, Inc.; Tyson Poultry, Inc.

  Urner Barry                             A reporting service that publishes daily prices
                                          (“quotes”) for many Broiler products.


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  USDA                                    United States Department of Agriculture

  Wayne Farms                             Wayne Farms, LLC, an operating affiliate of
                                          its parent company, Continental Grain
                                          Company, a privately held company in Arlon,
                                          Belgium.

  WOGs                                    Whole chickens without giblets.




                                        xvi
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 I.      INTRODUCTION

         The Commercial & Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) respectfully

 request that the Court certify classes for injunctive relief and for damages pursuant to Federal Rule

 of Civil Procedure 23(b)(2) and 23(b)(3). CIIPPs are a class comprised of commercial food

 preparers who purchased Broilers indirectly from the conspiring Defendants at supracompetitive

 prices. As the Motion outlines, CIIPPs have developed extensive common evidence in support of

 class certification. CIIPPs have adduced substantial common liability evidence, both documentary

 and testimonial, demonstrating that Defendants engaged in a conspiracy to artificially inflate the

 prices of Broilers, causing overcharges that were passed through the distribution chain in a

 common manner to CIIPP class members. CIIPPs’ expert economist has analyzed the common

 documentary and testimonial evidence and has concluded that it is the type economists typically

 find as consistent with collusion. Courts, including courts in this circuit, have repeatedly found

 antitrust conspiracy cases, such as this one, appropriate for the class action device.

         But CIIPPs did not stop there. In addition to the common qualitative evidence justifying

 certification of the class, CIIPPs have also offered substantial expert analyses, utilizing advanced

 quantitative modeling, including, among other techniques, multiple regression analysis, price

 correlation analyses, pass-through regressions, and a structural analysis of the Broilers market and

 its related supply chain, to quantify damages and demonstrate common harm to virtually all class

 members. CIIPPs’ empirical quantitative analyses are scientifically rigorous, robust, and present

 exactly the type of framework in support of class certification that courts have repeatedly accepted.

 CIIPPs’ quantitative analyses are also firmly grounded in the facts and record evidence in this case,

 including Defendants’ own voluminous transactional data produced during the course of this

 litigation.




                                                   1
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         As the extensive evidence in support of the Motion demonstrates, the Defendants attempted

 to, and did, coordinate their business conduct with the purpose of elevating the market prices of

 Broilers. Their conscious commitment to the common agreement succeeded, and the Broiler

 Defendants profited handsomely. This litigation stands as the only means for commercial food

 preparers, including our nation’s treasured restaurants, to recover for the substantial harm caused

 by the Defendants. CIIPPs’ Motion for Class Certification should be granted.

 II.     STATEMENT OF FACTS

         A.      The Relevant Product: Broilers

         The relevant product is “Broilers,” which for purposes of class certification are defined as

 “chickens raised for meat consumption to be slaughtered before the age of 13 weeks, and which

 may be sold in a variety of forms, including fresh or frozen, and whole or in parts, but excluding

 chicken that is grown, processed, and sold according to halal, kosher, free range, or organic

 standards.” See Notice of Motion & Motion. 1 For their quantitative work, CIIPPs further divide

 Broilers into three product categories: Whole Chickens, or “WOGs”; Breast Products; and Wing

 Products. Expert Report of Dr. Russell Mangum (“Mangum Report”) ¶¶ 149-150; 184-219.

         B.      The Parties

         CIIPPs are entities—largely small businesses—located in numerous states 2 that purchased

 Broilers indirectly from a Defendant or co-conspirator in the United States for their own use in



 1
   The definition of “Broilers” does not include dark meat chicken products. The definition also does not
 include certain “further processed” products, which means any chicken meat that has been breaded, cooked,
 or “formed,” such as patties, or nuggets; or products made from mechanically separated meat such as
 chicken sausages; or products that are ground, sliced, diced, or cubed. Marinated, seasoned, frozen and
 portioned products, that are not otherwise further processed, are included within the definition of
 Broilers. Mangum Report ¶ 10.
 2
   For CIIPPs that are asserting damages claims, the entities and small businesses reside or purchased
 Broilers in: Arizona, California, District of Columbia, Florida, Hawaii, Iowa, Illinois, Kansas,
 Massachusetts, Maine, Michigan, Minnesota, Missouri, Mississippi, Montana, North Carolina, North



                                                    2
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 commercial food preparation from January 1, 2009 to July 31, 2019 (the “Class Period”). The

 putative CIIPP class is largely comprised of restaurants, commercial food preparers, and grocery

 store deli counters, which purchase chicken for prepared meals. CIIPPs have broken the Class

 Period into two impact periods to address Defendants’ coordinated rounds of supply cuts: (1)

 January 1, 2009 through November 30, 2011 (“first impact period”); and (2) December 1, 2011

 through July 31, 2019 (“second impact period”). See Mangum Report ¶¶ 144-146; 150. 3

         The Defendants, 4 sellers of Broilers, along with their agents and co-conspirators, engaged

 in a ten-year conspiracy to fix, raise, maintain, and/or stabilize the prices of Broilers. Defendants

 achieved their goal through, inter alia, colluding on supply reductions, exchanging non-public

 information on output and prices, coordinating prices, and other collusive conduct. See CIIPPs’ 7th

 Consolidated Amended Complaint (“7th CAC”), ECF No. 3929. The Defendants are largely

 “vertically integrated” enterprises, which means they control many aspects of Broiler production

 from the layer/breeder pullets and feed mills through to the broiler slaughter and distribution phase.

 Mangum Report ¶ 25. Collectively, the Defendants controlled approximately 92% to 97% of the

 market during the Class Period. Id. ¶ 59.

         Defendants’ conspiracy was facilitated by the existence of certain market factors, including

 “Agri-Stats.” Id. ¶¶ 91-107. Agri-Stats is a data collection and analysis company that collects data

 from broiler integrators and uses it to send industry benchmarking reports to the Defendants on a

 weekly and monthly basis. Id. The data that Agri-Stats collected was incredibly granular – they



 Dakota, Nebraska, New Hampshire, New Mexico, Nevada, New York, Oregon, Rhode Island, South
 Carolina, South Dakota, Tennessee, Utah, Vermont, Wisconsin, West Virginia (“Indirect Purchaser
 States”).
 3
   Plaintiffs continue allege the conspiracy began in 2008, but seek to prove common impact and damages
 starting January 1, 2009.
 4
   Koch Foods; Tyson; Pilgrim’s Pride Corporation; Perdue; Sanderson Farms; Wayne Farms; Mountaire
 Farms; Peco Foods; Foster Farms; House of Raeford; Simmons Foods; Fieldale Farms; George’s; O.K.
 Foods; Claxton Poultry; Harrison Poultry; Mar-Jac Poultry; Agri-Stats, Inc.; Amick Farms; and Case Foods.


                                                    3
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 provided Defendants with production statistics as far down as at the plant level. Id. Though Agri-

 Stats claimed to provide anonymized data, there is substantial evidence that Defendants de-

 anonymized it and knew which production and data figures applied to which integrators. Id. In

 fact, several Defendants participated in the direct sharing of Agri-Stats information with one

 another. The Agri-Stats reports “readily provided the Defendants with detailed information on

 their competitors’ costs, prices, profits, and production statistics at the plant level.” Mangum

 Report ¶ 95. The Broiler market also utilized price indexes, which not only tracked the market

 prices of Broiler parts, but also served as a benchmark for spot and contract prices to customers in

 the supply chain. Two such indexes were the “Georgia Dock” 5 and “Urner Barry.” 6

         C.      Common Documentary and Testimonial Evidence Demonstrates the Existence
                 of Defendants’ Conspiracy
         At trial, CIIPPs will present common evidence that demonstrates Defendants engaged in a

 conspiracy to fix, increase, or stabilize the prices of Broilers.

                 1.      Pre-2008 History of Competition, Supply, and Low Margins

         Between 2000-2007, the Broiler industry was characterized by low prices and the

 perception by Defendants that broiler producers created too much industry supply. See Declaration

 of Adam J. Zapala in Support of Motion for Class Certification (“Zapala Decl.”) ¶ 3, Ex. 1

 (Sanderson-0003396986). 7 On occasion during this period, Tyson took on the responsibility of

 cutting its supply, which—given its large market share—impacted overall industry supply and thus




 5
   The Georgia Dock was a weekly price quote released by a division of the Georgia Department of
 Agriculture. Although Georgia Dock is meant to represent a WOG price, in contracts with retailers, it is
 common for Georgia Dock to provide the basis for the price of numerous chicken products. The GA Dock
 price was commonly used for whole-birds in the food service channel. Mangum Report ¶¶ 121-125.
 6
   Urner Barry is a reporting service that publishes daily prices (“quotes”) for many Broiler products. There
 are often several daily quotes within each broad category of Broiler products. For example, there are series
 for jumbo wings, medium wings, and small wings.
 7
   All citations to Exhibits (“Ex.”) hereinafter reference exhibits attached to the Zapala Declaration.


                                                      4
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 helped the entire industry stabilize pricing. Ex. 2 (DPP0000020177). Initially, few competitors

 joined Tyson in cutting supply in 2007, but others took advantage of those cuts to maintain their

 production and increase their own market share. See id. As a result, between 2000 and 2007,

 Tyson lost 5-7% of its market share, while the rest of industry production grew by 31%. See id.;

 Ex. 3 (TF-0007881275). Pilgrim’s similarly cut production unilaterally in 2007 and

                                                            . Ex. 4 (PERDUE0000782379 at 401).

 In early 2007, Tyson                                                                     , unlike

 most of its competitors,

                                                                                          . Ex. 5

 (2018-02-27 Tyson Objs. Resps. to All Pls Second Set of Interrogatories to All Dfs). Defendant

                                                           . Ex. 6 (PERDUE0001639615).

                2.      Tyson and Pilgrim’s Told Their Competitors They Would No Longer
                        Cut Supply to Raise Prices for the Rest of the Industry

        Beginning in 2008, Tyson and Pilgrim’s made clear at Defendants’ annual mass-gathering

 of industry executives for the International Poultry Expo (“IPE”) that they

                                                                 . Ex. 7 (TF-0002727575). Tyson

 reiterated that position publicly on their earnings call only days later. Ex. 8 (PILGRIMS-

 0009990886, at 902). Pilgrim’s followed Tyson’s lead and announced on its earnings call that

 others would have to cut their “fair share.” Ex. 4 (PERDUE0000782379 at 391).

        With Tyson and Pilgrim’s disavowing their prior role of cutting supply, the Defendants

 recognized the prisoners dilemma they faced, as shown by a summary of comments made by

 producers: “

                                       .” Ex. 7 (TF-0002727575 at 76).




                                                 5
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                3.      Defendants Entered Into an Agreement to Restrict Supply

        Under Tyson’s leadership, the nineteen Defendant Broiler Producers—representing over

 90% of production in the industry—stopped operating as separate producers and began operating

 as a single organization with 19 different divisions. In 2008, other Defendants accepted Tyson and

 Pilgrim’s invitation, agreed to reduce supply, and keep supply short of demand. The agreement

 was simple: each would keep their supply short of industry demand, which all Defendants agreed

 was critical in raising broiler industry pricing. Defendants adopted the euphemism of each

 producer doing “its fair share” to reduce production. See Ex. 9 (Weststrate Tr. at 156, 241, 251-

 52).

        Defendants were greatly aided by factors that economists have repeatedly shown facilitate

 a conspiracy: trade associations, frequent direct communications, and extensive information

 exchanges through Agri-Stats. Mangum Report ¶¶ 89-135. The former president of Mountaire

 admitted, remarkably, that it was normal for competitors to discuss their supply and industry

 supply relative to demand, and how it impacts market pricing. Ex. 70 (Pogge Tr. 150:4-151:7).

 The Defendants were all subscribers to Agri-Stats and its subsidiary Express Markets Inc. (“EMI”).

 The conspiracy was further aided and abetted by Rabobank, a financial lender with billions in loans

 to various Defendants. Given its hefty investment, Rabobank was motivated to ensure the industry

 profited. As one Rabobank executive testified, in 2008 and 2011, “



                  ” Ex. 9 (Weststrate Tr. at 161; see also id. at 152-53). Weststrate further testified

 the industry should                                          . Id. at 161.




                                                   6
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                4.      Defendants Met and Cut Production after Tyson and Pilgrim’s
                        Invitation to Collude
        Most Defendants’ executives met for the National Chicken Council (“NCC”) Meeting on

 February 22-23, 2008 at the Four Seasons Resort in Maui, Hawaii. Ex. 10 (NCC0000000083). At

 this meeting, Westrate of Rabobank explicitly stated that industry “

           .” Ex. 11(OKFoods_0000001575 at 598)). Shortly after the meeting, on March 12,

 2008, Pilgrim’s announced the closure of seven Broiler facilities to reduce supply, which, along

 with Tyson’s call to arms, helped kickstart the first large wave of industry production cuts. Ex. 12

 (KOCH_0000048522). Pilgrim’s also engaged in actions aimed at lowering industry supply: “



            ” Id. Pilgrims’ permanent cuts were quickly followed by Fieldale, Amick, Simmons,

 Wayne Farm, Koch Foods, OK Foods, and Peco. Ex. 13, (Supply Restriction Chart at 2-5). Despite

 none of these companies being public, many chose to make public announcements, ensuring their

 competitors would learn of the cuts. Ex. 14, (FIELDALE_1261831). As Peco’s CEO testified, the

                                                                . Ex. 15 (Hickman Tr. at 143-144).

 Tyson in turn contributed to cuts by                               . Ex. 16 (TF-0002608481).

                5.      Tyson Enlisted Agri-Stats and Continued to Communicate the Need for
                        Competitors to Agree to Cut

        In the wake of the industry supply cuts in early April 2008, Tyson contacted EMI to



        Ex. 17 (TF-0007860236); Ex. 18 (AGSTAT-15392759) (confirming 5-6% cut necessary to

 raise prices). EMI acted as a conduit and told Tyson that “

                                                       ” Ex. 17 (TF-0007860236). Tyson held an

 earnings call on April 28, 2008. Ex. 19 (PERDUE0001639443). On the earnings call and at other

 industry events, Tyson continued to make clear to its competitors that it was done cutting


                                                  7
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 unilaterally, and that any supply cuts would have to be coordinated throughout the industry. Id.;

 see also Ex. 20 (Rabo_0000050062). Furthermore, in explicit discussions with its competitors at

 an NCC meeting on April 29-30, 2008, Chairman of the Board Don Tyson made the same

 exhortation to its direct horizontal competitors in private one-on-one conversations, including in a

 communication with OK Foods’ CEO Randy Goins. Id.

                6.      Defendants’ Second Round of Cuts in 2008

        By May 2008, it was becoming clear to Defendants that a second round of supply cuts was

 needed to drive prices higher. Ex. 21 (Pilgrims-0009993491 at 494). Defendants held an NCC

 Board meeting on June 17, 2008. Ex. 22 (TF-0002602742); Ex. 23 (NCC0000000094). Two days

 later, armed with information from its competitors at the NCC meeting, immediate-past NCC

 chairman Mark Hickman was reported to have said



                                Ex. 24 (DPP0000021292). The Summer of 2008 was filled with

 additional supply cuts, including by                                                       . Ex. 13

 (Supply Restrictions Chart. at 2-4). Not all cuts were publicly announced, yet Tyson somehow

 knew of them. Ex. 25 (TF-0002728778). Sanderson and Foster Farms announced they would delay

 construction of planned facilities, keeping future supply off the market. Ex. 13 (Supply

 Restrictions Chart at 2-4). Sanderson urged breast prices to hit $2.25 and encouraged the industry

 to make further production cuts. Ex. 26 (PECO0000163802).

        The cuts put in place by July 2008, however, were not enough. During EMI’s July 16, 2008

 webcast to Defendants, it explained that “                        ” were necessary. Ex. 27 (Qualls

 Tr. 45:5-47:14); Ex. 28 (HRF_0000369715 at 768). Trudell of Agri-Stats delivered the same

 message in a subsequent NCC presentation. Ex. 29 (AGSTAT-14611910); see also Ex. 30




                                                  8
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        Despite being in bankruptcy and closing plants, Pilgrim’s only sold one plant to a

 competitor, choosing instead to close and dismantle the others, thereby ensuring industry supply

 from those plants was permanently lowered. As Pilgrim’s CRO Bill Snyder wrote on March 12,

 2009 with regard to a possible sale of plants to Foster Farms, “



                                                         ” Ex. 49 (PILGRIMS-0007412281). Don

 Jackson testified “[                                                           ” Ex. 50 (Jackson

 Tr. 160:22-24.).

        In July 2009, Sue Trudell again presented at an NCC conference, but the NCC lawyer was

 concerned about                                                                         . See Ex.

 51 (AGSTAT-00384480). Trudell nevertheless emailed the original presentation material,

 including projections and forecasts, to industry participants, including Tyson. Id. The role that

 Agri-Stats and trade association meetings, such as NCC, played in helping Defendants facilitate

 their conspiracy cannot be overstated. See Ex. 52 (FIELDALE_0214218) (

                                                                                            ); Ex.

 53 (AGSTAT-00203920 at 21) (

                                                                        ).

                9.      Defendants’ Maintained Production Cuts in 2010 Through Use of Joint
                        Ventures
        Defendants participated in many joint ventures—such as Southern Hens and Tip Top—

 that also facilitated the conspiracy. Tip Top and Southern Hens were controlled by Defendants,

 with Southern Hens owned by six Defendants and Tip Top being advised by an “Alliance Advisory

 Board” of 14 Defendants and Co-Conspirators. Mar-Jac’s representative to Tip Top’s Board

 conceded it did not serve any legitimate purpose. Ex. 54 (Williams Tr. at 51-53). Tyson and the


                                                 11
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 other Defendants, through Southern Hens and Tip Top, commenced



            . See Ex. 55 (KOCH_0002051097); Ex. 56 (PILGRIMS-0000038129).

        Concerned about a coming overproduction, Tyson embarked

              . Ex. 13 (Supply Restrictions Chart, at 8). Tyson also simultaneously confirmed that

 other Defendants                                                                   . Ex. 57 (TF-

 0002289686). Tyson publicly announced the cut on November 23, 2010, which led Perdue to say,

 “                                              ” Ex. 58 (PERDUE0000173408).

                10.    Coordinated Conduct Led to Unprecedented Supply Cuts in 2011

        Tyson was again concerned that other producers would rely on it to bear the brunt of

 industry supply cuts as it had pre-2008. Ex. 59 (TF-0002292235). It used the annual series of IPPE

 meetings in late January to communicate the necessity of collective industry cuts, similar to that

 of 2008, and that Tyson would not cut production unilaterally. See Ex. 60 (TF-0002932966) (“...in

 Atlanta the message will be sent that Tyson is in balance.”); Ex. 61 (USPoultry0000023246 at 54)

 (conclusion from IPPE was 5% cutback needed for industry). Internally, Tyson

                                                           Ex. 59 (TF-0002292235).

        Following Tyson’s renewed invitation to strengthen their colluding, several Defendants

 complied and dutifully announced cuts or delayed expansions, including Sanderson, Mountaire,

 Peco, OK Foods, House of Raeford, Simmons, and Fieldale. Ex. 13, (Supply Restrictions Chart

 11, 12-15). Defendants discussed these cuts in private collusive meetings. For example:

 •   At a February 12, 2011 Pebble Beach Pro-Am event attended by executives from Peco,
     Simmons, Mountaire, and Tyson, and hosted by Tyson’s breeder company, Cobb-Vantress,
     the competitor Defendants discussed        . Ex. 62 (PECO0000173939); Ex. 63 (Bishop
     Tr. at 155-158).




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                13.     Continued Coordinated Cuts Led to Record Profits in 2016 – Present

        In 2016, Defendants continued to implement supply cuts consistent with the agreement to

 maintain supply below anticipated demand. Ex. 105 (Pilgrims-0005871416)(discussing “

                          . .”; see also Ex. 13 (Supply Restrictions Chart, 22-23 )(noting that in late

 May both                                                       ). By March 2016, Tyson and other

 Defendants were achieving                   as Defendants maintained supply discipline given the

 prior success with collective action. Ex. 106 (PILGRIMS-0005990854, at 865); Ex. 107

 (PILGRIMS-0003675887 at 900). After the first lawsuit was filed on September 2, 2016, Koch

 CEO Joe Grendys stated to another Koch executive that “

            ” Ex. 108 (KOCH_0001123939) (emphasis added).

                14.     Agri-Stats Detailed Data and De-Anonymization

        In addition to the direct exchanges of supply and pricing information, all Defendants

 participated in Agri-Stats. The Defendants were provided different books with their competitors

 plants’ profits, pricing and production. The reports were allegedly anonymized, but it was well

 understood that Defendants de-anonymized them to identify their competitors. 9 Other Defendants

 such as Sanderson, Perdue, Koch, Peco, and Mar-Jac would simply ask each other what line they

 were in the report or exchanged Agri-Stats reports and numbers directly. 10 In addition to providing

 breathtaking granularity about their competitors’ business, Agri-Stats provided information about


 9
   Tyson: Ex. 109 (Wilson Tr. 187:10-198:3; 23:11-24:13; 95:23–96:11; 102:1-6; 106:6–107:3; 281:7-19);
 Ex. 110 (TF-0007485166); Pilgrim’s: Ex. 111 (Bontz Tr. 86:18–89:5; 105:20–107:12); Mountaire: Ex. 112
 (Saywell Tr. 248:4–252:14; 93:12-15; 118:10–121:4); Wayne Farms: Ex. 113 (Leach Tr. 96:11–97:12;
 115:6-15; 122:15-123:19; 127:25–128:5); Ex. 114 (WF-0001311295); George’s: Ex. 115 (George Tr.
 57:11-23; 67:18-79:21; 71:19–73:14); Mar-Jac: Ex. 116 (Martin Dep. 245:21-246:20); Amick: Ex. 117
 (AMICK0000390141); and Case Foods: Ex. 118 (CASEFOODS0000037130); Ex. 119
 CASEFOODS0000083920).
 10
    Ex. 120 (Pettus Tr. 143:1–145:19; 152:5–153:17); Ex. 121 (Sanderson-0000506200); Ex. 122
 (Grendys Tr. 90:3-16; 96:13-97:24); Ex. 123 (McLaurin Tr. 54:12 – 56:17); Ex. 116 (Martin Tr. 41:1-
 42:5).


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 summarized below, Dr. Mangum’s report outlines six mutually reinforcing methods, all of which

 support his ultimate conclusions that (1) supply was artificially restrained, (2) prices were

 artificially elevated, and (3) the conspiracy impacted all, or nearly all, class members.

                1.      CIIPPs’ Expert is Qualified to Provide Expert Testimony Concerning
                        Market Structure, Classwide Impact, and Damages

        CIIPPs’ expert—Dr. Mangum, a Ph.D economist—is eminently qualified to provide the

 opinions he has in this case. Dr. Mangum has evaluated and modeled the effects of anticompetitive

 conduct with the use of statistics, economics, and econometrics for over 20 years. Id. ¶ 4. From

 1995 to 1998, Dr. Mangum served as a staff economist at the United States Federal Trade

 Commission (“FTC”), in the Antitrust Division of the Bureau of Economics, where he conducted

 economic investigations into proposed mergers and other business practices with potentially

 anticompetitive effects, including investigations into coordinated interactions, boycotts, and price-

 fixing. Id. Dr. Mangum’s opinions and techniques have been widely accepted by courts in

 evaluating class certification, utilizing statistical and econometric techniques to evaluate the

 magnitude of anticompetitive conduct, and in modeling and quantifying damages. See,

 e.g., Wortman v. Air New Zealand, 326 F.R.D. 549 (N.D. Cal. 2018) (certifying class); In re

 Korean Ramen Antitrust Litig., Case No. 13-cv-04115-WHO, 2017 WL 235052 (N.D. Cal. Jan 19,

 2017) (certifying class); In re Dynamic Random Access Memory (DRAM)) Antitrust Litig., Master

 File No. M-02-1486-PJH, 2013 WL 12333442 (N.D. Cal. Jan. 8, 2013) (certifying class).

                2.      CIIPPs Have Utilized Widely Accepted and Reliable Methodologies for
                        Demonstrating Antitrust Impact and Artificial Price Elevation in the
                        Broiler Market

        In order to demonstrate that Defendants’ conspiratorial conduct caused artificial price

 elevation on a class-wide basis to the CIIPP class, Dr. Mangum first examines whether the

 economic evidence shows that the direct purchasers, from whom the CIIPP class purchased



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 Broilers, suffered an overcharge as a result of the conspiracy, and the extent of that overcharge.

 He then examined the empirical question of whether that overcharge was passed on by the direct

 purchasers to the CIIPP class, thereby causing harm and antitrust impact.

         In determining the first question, Dr. Mangum utilized what courts have described as the

 gold standard: multiple regression analysis. Dr. Mangum employed multiple regression analysis

 both to demonstrate the magnitude of the overcharge and that the overcharge was passed on to

 CIIPPs. Multiple regression analysis is an econometric technique that has been widely accepted

 by courts as reliable for purposes of establishing and isolating an overcharge due to anticompetitive

 conduct. 11 Multiple regression analysis is used to explain the behavior of one variable, called the

 “dependent variable,” based on the behavior of other variables, called “independent variables,”

 “regressors,” or “explanatory variables.” Mangum Report ¶¶ 184-188. By utilizing multiple

 regression analysis, economists can isolate and measure the effect of a particular variable on the

 dependent variable, while simultaneously controlling for the effects of a number of other variables.

         Dr. Mangum’s direct purchaser overcharge regression utilizes millions of real-world

 observations from Defendants’ own transactional data. Id. ¶¶ 188-190. The dependent variable in

 Dr. Mangum’s regression are the prices actually charged by Defendants. Id. Dr. Mangum’s model

 compares the prices of Broilers before the conspiracy (the so called competitive before- benchmark

 period) to prices during the conspiracy period. Id. ¶¶ 198-199. In doing so, Dr. Mangum employed

 rigorous independent or explanatory variables that help control for factors like supply and demand,

 which are changing over the before- and during- conspiracy periods. Id. ¶¶ 200-211. Dr. Mangum


 11
    See, e.g., Daniel L. Rubinfeld, “Reference Guide on Multiple Regression,” Reference Manual on
 Scientific Evidence (3d ed. 2011), Federal Judicial Center, pp. 305-06 (“Regression analysis has been used
 most frequently in cases of sex and race discrimination, antitrust violations, and cases involving class
 certification (under Rule 23).”); Baker & Rubinfeld, “Empirical Methods in Antitrust Litigation,” American
 Law and Economics Review, vol. 1 (1999) at 392 (“Reduced form price equations are perhaps the most
 commonly employed in price-fixing cases . . . as a basis for finding liability and measuring damages.”)


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 market. It further estimates that supply was 7.4% lower in the second impact period. The results

 are significant at the 99% level, meaning, again, there is less than a one percent probability that

 the results are due to chance. Id. ¶ 149.

                 4.       CIIPPs’ Pass-Through Regressions Demonstrate Common Impact

 Having empirically demonstrated that prices charged to direct purchasers were artificially

 elevated and supply in the Broiler market was artificially restrained, Dr. Mangum next employed

 multiple regression analysis to measure the degree to which the overcharge was passed on to CIIPP

 class members from direct purchasers. Id. ¶¶ 250-254.12 Dr. Magnum finds robust pass-through

 rates by food service distributors, with a weighted and median pass through rate of 96%.

                 5.       The Structural Characteristics of the Broilers Market Facilitated the
                          Conspiracy and Contributed to its Widespread Impact

         In addition to empirical testing, Dr. Mangum also analyzed the Broiler market’s structural

 characteristics. Mangum Report ¶¶ 58-135; 151-165. He concluded that its structural

 characteristics (1) make the market conducive to collusion; and (2) indicate that collusion impacted

 all, or nearly all, class members. As Dr. Mangum testified, the market characteristics that support

 these conclusions are:

 •    Dominant market power: The Defendants controlled at least over 90% of the market during
      the Class Period. Dominant market power by the cartel is important in imposing widespread
      impact because non-participants cannot undermine its effectiveness; and thus, purchasers
      cannot avoid the overcharge and impact is widespread. Id. ¶¶ 58-61.

 •    Significant barriers to entry:, The Broiler industry is characterized by high barriers to entry.
      In markets with lower barriers to entry, outside participants would recognize the industry’s
      supracompetitive profits and enter at lower price points to capture more of the market. High
      barriers to entry make it infeasible for new producers to recognize supracompetitive profits,
      enter, and undermine the conspiracy. Id. ¶¶ 77-84.



 12
   As discussed infra, CIIPPs subpoenaed substantial purchase and sales data from intermediary
 distributors in the supply chain.


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 indexes, and because the food service industry largely relies on formulaic and price index pricing,

 widespread common impact from Defendants’ conspiracy occurred. Mangum Report ¶¶ 153-155

 (“The use of market-based price formulas means that as the alleged conspiracy resulted in increases

 in the market price indices, the prices for every customer that is based on these market price indices

 similarly increases”). The widespread use of formulaic pricing and price indexes contributes to

 common impact.

                7.      CIIPPs Have Proffered Price Correlation Analyses Demonstrating
                        Common Impact

        CIIPPs have also offered Dr. Mangum’s price correlation analyses, which also support his

 finding of common impact. His price correlation analyses all demonstrate high degrees of

 correlation within the relevant Broiler parts and show that prices for the parts moved together over

 time, and thus, create common impact in response to common stimuli, such as the supply restraints

 at issue in the case. The price correlation analyses also demonstrate the existence of a pricing

 structure. Mangum Report ¶¶ 170-178.

                8.      There is Common Evidence Regarding Defendants’ Conduct that
                        Economists Consider as Consistent with the Alleged Conspiracy

        Dr. Mangum’s opinions do not rest on economic modeling or statistical testing alone. His

 economic analyses and empirical work are specifically informed by, and grounded in, the record

 evidence. Dr. Mangum has analyzed the Broiler market structure, the Defendant firms, the relevant

 supply chains, and the documentary evidence in the case. Having done so, Dr. Mangum has

 identified conduct that economists typically consider as being consistent with collusion. Dr.

 Mangum analyzed inter-defendant communications, discussions at trade association events, press

 releases from private companies publicly announcing supply cuts, and other documentary and

 testimonial evidence. Mangum Report ¶¶ 89-135. He has concluded that there is common evidence




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         That the direct purchasers passed price stabilizations or increases along to their

 downstream indirect purchasers should come as no surprise, since selling to customers for more

 than the sourcing cost is the entire logic of these intermediaries’ business model.


 III.    ARGUMENT

         A.      Legal Standard

         The United States Supreme Court has long recognized that antitrust class actions play a

 critical role in enforcing the antitrust laws. See Reiter v. Sonotone Corp., 442 U.S. 330, 344 (1979);

 Hawaii v. Standard Oil Co., 405 U.S. 251, 266 (1972). Because of this important enforcement

 mechanism, courts resolve doubts in favor of certifying classes under Rule 23. See Day v. Check

 Brokerage Corp., 240 F.R.D. 414, 417 (N.D. Ill. 2007) (“Doubts about whether to grant

 certification generally are resolved in favor of certification.”) (citing Rogers v. Baxter Int'l.,

 Inc. No. 04 C 6476, 2006 WL 794734, at *2 (N.D. Ill. March 22, 2006)); In re TFT-LCD (Flat

 Panel) Antitrust Litig., 267 F.R.D. 583, 591–592 (N.D. Cal. 2010) (“LCDs II”) (“[W]hen courts

 are in doubt as to whether certification is warranted, courts tend to favor class certification . . . .

 Courts have stressed that price-fixing cases are appropriate for class certification . . . .”)

         Antitrust conspiracy cases are often considered the prototypical case for the class device.

 As the Supreme Court stated, predominance is “readily met in certain cases alleging . . . violations

 of the antitrust laws.” Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 625 (1997). The Seventh

 Circuit has adopted this view. See In re Allstate Corp. Sec. Litig., 966 F.3d 595, 603 (7th Cir. 2020)

 (“Allstate”) (“The predominance requirement is ‘stringent’ but is ‘readily met in certain cases

 alleging consumer or securities fraud or violations of the antitrust laws.’”); Messner v. Northshore

 Univ. HealthSystem, 669 F.3d 802, 815 (7th Cir. 2012) (“[I]n antitrust cases, Rule 23, when applied

 rigorously, will frequently lead to certification.”).



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        “The court has broad discretion in deciding whether certification of a class is proper.”

 McCabe v. Crawford & Co., 210 F.R.D. 631, 643 (N.D. Ill. 2002). In conducting its analysis, “the

 court should not turn the class certification proceedings into a dress rehearsal for the trial on the

 merits.” Messner, 669 F.3d at 811; see Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455,

 466 (2013). In moving for class certification, plaintiffs “must satisfy the requirements of Federal

 Rule of Civil Procedure 23(a), as well as one of the three alternatives in Rule 23(b).” Id.

        B.      CIIPPs Satisfy Rule 23(a)

        Rule 23(a) is satisfied if: “(1) the class is so numerous that joinder of all members is

 impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

 of the representative parties are typical of the claims or defenses of the class; and (4) the

 representative parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

 23(a). CIPPs readily clear the low-threshold requirements of Rule 23(a).

        The CIIPP Classes Are So Numerous as to Make Joinder Impracticable. “A plaintiff

 need not plead or prove the exact number of class members to establish numerosity under Rule

 23(a)(1), Marcial v. Coronet Ins. Co., 880 F.2d 954, 957 (7th Cir. 1989), and the court may make

 common sense assumptions to determine numerosity.” Barnes v. Airline Pilots Ass'n, Int'l, 310

 F.R.D. 551, 557 (N.D. Ill. 2015). “While there is no threshold or magic number at which joinder

 is impracticable, a class of more than 40 members is generally believed to be sufficiently numerous

 for Rule 23 purposes.” Schmidt v. Smith & Wollensky LLC, 268 F.R.D. 323, 326 (N.D. Ill. 2010).

        Here, CIIPPs unquestionably meet the standard for numerosity. CIIPPs are made up of

 virtually every restaurant in the United States for the injunctive relief; and every restaurant in the

 thirty-one Indirect Purchaser States for damages claims. The restaurants alone—and these are only

 one slice of the CIIPP class—make up hundreds of thousands of entities. The CIIPP classes also




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 include other commercial food preparers of Broilers, like grocery stores’ deli counters, hotel dining

 operations, and other commercial food preparers. Numerosity is met.

        CIIPPs’ Case Raises Common Questions of Law and Fact. “Commonality is satisfied

 as long as one question of law or fact is common to the class.” Kohen v. Pacific Inv. Mgt. Co.

 LLC, 244 F.R.D. 469, 476 (N.D. Ill. 2007), aff'd, 571 F.3d 672 (7th Cir. 2009); Wal-Mart Stores,

 Inc. v. Dukes, 564 U.S. 338, 359 (2011) (requiring only one common question to satisfy Rule

 23(a)(2)). “Commonality generally exists when the defendant has engaged in ‘standardized

 conduct’ towards the members of the proposed class.” In re Sulfuric Acid Antitrust Litig., No. 03

 C 4576, 2007 WL 898600, at *2 (N.D. Ill. Mar. 21, 2007). “The commonality requirement has

 been referred to as a low hurdle that is easily surmounted.” Kohen, 244 F.R.D. at 476. Most courts

 find that antitrust conspiracy cases—such as this one—readily meet the standards of Rule 23(a)(2).

 “[T]he issue of whether or not that conspiracy existed—i.e., whether or not Defendants practiced

 ‘standardized conduct’ toward all parties—is one that is common . . . .” Sulfuric Acid, 2007 WL

 898600, at *4.

        The CIIPP Classes easily satisfy the “permissive” standard for commonality under Rule

 23(a)(2). Common questions of law and fact exist. See CIIPPs’ 7th CAC (ECF No. 3929) ¶¶ 453.

 The central common issues to the class are, inter alia, whether Defendants engaged in the alleged

 conspiracy, which Defendants conspired, the duration of the conspiracy, the structure of the Broiler

 market, the supply cuts by Defendants, and whether the conspiracy inflated prices.

        CIIPPs’ Class Representatives’ Claims are Typical. “A plaintiff's claim is typical if it

 arises from the same event or practice or course of conduct that gives rise to the claims of other

 class members and his or her claims are based on the same legal theory.” Keele v. Wexler, 149

 F.3d 589, 595 (7th Cir. 1998); Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992) (same);




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 Kohen, 244 F.R.D. at 477-78, aff'd, 571 F.3d 672 (7th Cir. 2009) (same). “The Rule does not

 require that each member of a class suffer exactly the same injury as the named class

 representative.” Tatz v. Nanophase Techs. Corp., No. 01 C 8440, 2003 WL 21372471, at *6 (N.D.

 Ill. June 13, 2003). “The issue of typicality is closely related to commonality and should be

 liberally construed.” Saltzman v. Pella Corp., 257 F.R.D. 471, 479 (N.D. Ill. 2009). Courts find

 the typicality requirement readily satisfied in antitrust conspiracy cases because where “the

 defendants engaged in a common scheme relative to all members of the class, there is a strong

 assumption that the claims of the representative parties will be typical of the absent class

 members.” In re Catfish Antitrust Litig., 826 F. Supp. 1019, 1035 (N.D. Miss. 1993).

         Here, as the complaint and Class Representative declarations make clear, the Class

 Representatives’ claims are typical of the claims of absent class members. All members of the

 classes, including the Class Representatives, purchased Broilers and allege that they were

 overcharged through Defendants’ collusive conduct. The claims alleged by the Class

 Representatives, with few exceptions, are based on state antitrust and unfair competition law and

 are typical of the absent class members’ claims. CIIPPs have satisfied this element of the class

 certification analysis.

         CIIPPs’ Class Representatives and Lead Counsel are Adequate to Represent the

 Classes. The proposed CIIPP Class Representatives also meet the requirement that they will “fairly

 and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). Indeed, they have

 already done so throughout this litigation. As their declarations make clear, they have dedicated

 their time and energy toward prosecuting this highly complex litigation. They have approved

 pleadings, responded to discovery, searched for and collected voluminous documents, stayed

 abreast of the litigation, and sat for depositions, among many other tasks. See Compendium of




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 Class Representative Declarations. The Class—comprised of restaurants and other commercial

 food preparers who have suffered greatly throughout this pandemic—have demonstrated are

 adequate in their roles as class representatives.

         Adequacy is also satisfied in this case because the interests of the Class Representatives do

 not conflict with absent class members. All members of the CIIPP Classes seek primarily the same

 relief in the form of overcharges. See, e.g., Makor Issues & Rights, Ltd. v. Tellabs, Inc., 256 F.R.D.

 586, 599 (N.D. Ill. 2009) (citing Rosario, 963 F.2d at 1018). Moreover, although many courts,

 including this Court, 13 have found that class representatives are not required for every state, CIIPPs

 have selected and retained Class Representatives from the vast majority of the Indirect Purchaser

 States. 14

         Finally, the Class Representatives—along with the Court pursuant to Rule 23(g)—have

 selected adequate class counsel to represent their interests in this litigation. As this Court

 recognized when it appointed Cotchett, Pitre & McCarthy, LLP and Gustafson Gluek PLLC to

 lead the CIIPP litigation, the Class Representatives retained counsel with extensive experience in




 13
   See In re Broiler Chicken Antitrust Litig., 290 F. Supp.3d 772, 809-810 (N.D. Ill. 2017).
 14
    If this Court finds any of the proposed class representatives to be inadequate, other CIIPPs class
 representatives who satisfy the Rule 23 criteria may adequately represent the class in their place. Payton v.
 County of Kane, 308 F.3d 673, 680 (7th Cir. 2002) (concluding that plaintiffs may be entitled to represent a
 class suing all 19 defendant counties if they fulfill the requirements of Rule 23); Hospital Auth. of Metro.
 Gov’t of Nashville & Davidson Cty. v. Momenta Pharms., 333 F.R.D. 390, 414 (M.D. Tenn. 2019) (rejecting
 contention that indirect purchasers were required for every state where claims were asserted and finding
 that out of state class representatives could adequately protect absent class members in those states because
 the antitrust claims were virtually the same); Gress v. Freedom Mortg. Corp., 386 F. Supp. 3d 455, 462
 (M.D. Pa. 2019) (“capacity to state claims under the laws of other states on behalf of putative class
 members, who themselves likely would have standing to raise those claims, is a matter to be decided under
 the rubric of Rule 23…”). If an additional or alternative class representative is necessary, CIIPPs request
 leave to substitute. See, e.g., In re NorthShore Univ. HealthSystem Antitrust Litig., No. 07-cv-4446, 2018
 WL 2383098, at *1 (N.D. Ill. Mar. 31, 2018) (permitting substitution); In re Lithium Ion Batteries Antitrust
 Litig., No. 13-MD-2420, 2016 WL 948874 (N.D. Cal. Mar. 14, 2016) (permitting substitution).



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 prosecuting indirect purchaser antitrust cases, class actions, and other complex cases to successful

 resolution. See Order Appointing Interim Lead Counsel, ECF No. 144.

        C.      CIIPPs Satisfy Rule 23(b)(3) Because Common Questions of Fact and Law
                Predominate
        Rule 23(b)(3) requires plaintiffs to demonstrate that “questions of law or fact common to

 class members predominate over any questions affecting only individual members . . . .” Fed. R.

 Civ. P. 23(b)(3). The Rule requires showing that questions common to the class predominate; but

 it does not require proof that those questions will be answered in the classes’ favor on the merits.

 Amgen, 133 S. Ct. at 1191; see also Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir.

 2013). The focus of the predominance requirement is whether the proposed Class is “sufficiently

 cohesive to warrant adjudication by representation.” Amgen, 568 U.S. at 469. As the Seventh

 Circuit has recently reiterated, the predominance requirement is “readily met” in antitrust cases.

 Allstate, 966 F.3d at 603. This is because “proof of the conspiracy is a common question that is

 thought to predominate over the other issues of the class.” In re Scrap Metal Antitrust Litig., 527

 F.3d 517, 535 (6th Cir. 2008). Further, the choice of the word “predominate” in Rule 23 is

 important and intentional. The predominance standard does not require that all issues be common

 to the class, otherwise the drafters would have used the word “exclusive” to convey that common

 questions be absolute. As the Seventh Circuit held in the Kleen Products antitrust litigation, “it

 remains true that Rule 23 does not demand that every issue be common; classes are routinely

 certified under Rule 23(b)(3) where common questions exist and predominate, even though other

 individual issues will remain . . . .” Kleen Prods. LLC v. International Paper Co., 831 F.3d 919,

 922 (7th Cir. 2016). The Kleen Products decision follows a long line of such holdings. As another

 Seventh Circuit case has held, “[i]ndividual questions need not be absent. The text of Rule 23(b)(3)

 itself contemplates that such individual questions will be present. The rule requires only that those



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 questions not predominate over the common questions affecting the class as a whole.” Messner,

 669 F.3d at 815.

        Here, issues common to the CIIPPs predominate with respect to proof of the elements of

 their antitrust claims: (1) Defendants’ participation in a conspiracy to fix the prices of Broilers; (2)

 common injury in the form of common impact arising from the overcharges; and (3) damages as

 a result of the antitrust violations, which can be calculated on an aggregate, formulaic basis.

                1.      The Existence of Defendants’ Conspiracy Can Be Proven by Common
                        Evidence

        As Section II.C., supra, demonstrates, the Class will rely on evidence that is common

 regarding Defendants’ conspiracy and their liability. Moreover, common issues regarding liability

 predominate because all class members will rely on the same evidence at trial to prove the

 overwhelmingly predominant issue of whether Defendants conspired to elevate prices through

 supply restrictions and other collusive means. Courts have therefore found that common issues

 predominate in antitrust cases because the focus is on the defendants’ conduct and not on the

 conduct of individual class members. See In re Relafen Antitrust Litig., 221 F.R.D 260, 275 (D.

 Mass. 2004).

                2.      Antitrust Impact and Damages Can be Presented on a Classwide Basis
                        Using Common Evidence. CIIPPs Have Set Forth Reliable and
                        Generally Accepted Methods for Establishing Common Impact

        A horizontal price-fixing conspiracy is a per se violation of the antitrust laws. Texaco Inc.

 v. Dagher, 547 U.S. 1, 5 (2006). This is because horizontal price-fixing is “so plainly

 anticompetitive that no elaborate study of the industry is needed to establish [its] illegality.” Id.

 Consequently, as many courts have held, evidence of coordinated price setting behavior is

 evidence of impact by itself. Under “the prevailing view, price-fixing affects all market

 participants, creating an inference of class-wide impact even when prices are individually



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 negotiated.” Dow Chem. Co. v. Seegott Holdings, Inc. (In re Urethane Antitrust Litig.), 768 F.3d

 1245, 1254 (10th Cir. 2014); In re Dynamic Random Access Memory (DRAM)) Antitrust Litig.,

 Master File No. M-02-1486-PJH, 2006 WL 1530166 at *7 (N.D. Cal. June 5, 2006) (collecting

 cases recognizing a presumption of impact); In re Rubber Chemicals Antitrust Litig., 232 F.R.D.

 346, 352 (N.D. Cal. 2005) (recognizing presumption of impact in per se cases). 15 Indeed, even

 Defendants’ own documents demonstrate common impact. See supra at Section II.D.9(a)-(b).

         Courts hold in antitrust cases that common issues predominate when plaintiffs offer

 evidence capable of showing “common impact.” See, e.g., In re Linerboard Antitrust Litig., 203

 F.R.D. 197, 220 (E.D. Pa. 2001); Scrap Metal, 527 F.3d at 535. In Kohen, for example, the Seventh

 Circuit expressly held that a class can be certified even where certain class members remain

 uninjured. Kohen, 571 F.3d at 677. The Seventh Circuit reaffirmed this principle in Messner when

 it rejected the contention that uniform price increases were required for purposes of demonstrating

 common impact. Messner, 669 F.3d at 818-19; Beaton v. SpeedyPC Software, 907 F.3d 1018, 1029

 (7th Cir. 2018) (holding predominance satisfied despite presence of individualized liability issues);

 see also NEWBERG ON CLASS ACTIONS §2:3.

                         a.      Dr. Mangum’s Multiple Regression Analysis Demonstrates
                                 Widespread Overcharges

         Courts across the country, including those within the Seventh Circuit, have found that

 multiple regression analysis—of the type that Dr. Mangum performed here— provides a reliable

 measure of impact and damages in class actions and is widely accepted. See, e.g., Kleen Prods.,

 831 F.3d at 928; In re High Fructose Corn Syrup Litig., 295 F.3d 651, 660-61 (7th Cir. 2002);


 15
    Indeed, under many states’ laws, there is a presumption of common impact in horizontal per se cases.
 See In re Cipro Cases I and II, 17 Cal. Rptr.3d 1, 8 (2004) (Impact is “ordinarily a permissible assumption
 in cases where consumers have purchased products in an anticompetitive market, even if some consumers
 did not actually have to pay the overcharge because of their individual circumstances.”); Hopkins v. De
 Beers Centenary AG, No. CGC-04-432954, 2005 WL 1020868, *5 (Cal. Sup. Ct. Apr. 15, 2005).


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 Sulfuric Acid, 2007 WL 898600, at *7; Ramen, 2017 WL 235052, at *17 (regression model alone

 sufficient to show how plaintiffs can prove impact and damages); In re Cathode Ray Tube (CRT)

 Antitrust Litig., No. C-07-5944-SC, 2013 WL 5391159, *7 (N.D. Cal. Sept. 24, 2013) (“CRTs I”)

 (regressions analysis can be used to certify indirect purchaser classes); In re TFT-LCD (Flat Panel)

 Antitrust Litig,. 267 F.R.D. 291, 313 (N.D. Cal. 2010) (“LCDs I”) (“courts have accepted multiple

 regression and correlation analyses as means of proving antitrust injury and damages on a class-

 wide basis”); In re Static Random Access Memory (SRAM) Antitrust Litig., 264 F.R.D. 603, 616

 (N.D. Cal. 2009) (“SRAM II”) (“The economic principles and regression models relied upon by

 [Indirect Purchaser] Plaintiffs’ experts . . . are solidly grounded in the academic literature.”).

            The standard for admissibility of regression models is liberal. As the Supreme Court has

 held, regression analyses are probative even if they contain “less than all measurable variables ….”

 See Bazemore v. Friday, 478 U.S. 385 (1986); see also Hemmings v. Tidyman’s Inc., 285 F.3d

 1174, 1188 (9th Cir. 2002) (“[T]he law does not require the near-impossible standard of

 eliminating all possible [innocuous] factors.”); In re Air Cargo Antitrust Litig., Master File No.

 06-MD-1175, 2014 WL 7882100 at *59 (E.D.N.Y. 2014) (regression models “need not be flawless

 . . . to merit the court’s consideration of it as proof common to the class.”).

            In addition to the foregoing case law, academic and industry literature on the subject

 confirms that Dr. Mangum’s use of multiple regression analysis has wide support. 16 Not only does

 Dr. Mangum utilize widely-accepted econometric techniques in his overcharge model, but the

 model is well-specified. The model does not assume an overcharge but tests for one. Mangum

 Report ¶¶ 212-219. It uses millions of real-world observations from Defendants’ own transactional

 data as the dependent variable, it incorporates independent or “explanatory” variables, such as


 16
      See, supra at n. 11.



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 demand over time; cost variables; fixed effect variables accounting for systematic differences in

 customers or products; variables addressing the “seasonality” of certain Broiler products; variables

 to account for competing proteins, such as pork or beef; variables addressing inventory share in

 the Wing Products regression; and trend variables addressing the increase in yield over time.

 Mangum ¶¶ 200-211.

        The results of Dr. Mangum’s regression model demonstrate that Broilers prices were

 significantly higher during the Class Period than they otherwise should have been absent the

 conspiracy. As discussed, Dr. Mangum’s multiple regression analysis shows positive and

 statistically significant overcharges for all three Broiler parts over the two impact periods. The

 statistical properties of his models indicate that the models are well-specified and he has reliably

 demonstrated classwide impact: as noted, the overcharges are significant at the one percent level,

 indicating that there is less than a one percent chance that the statistical results are due to chance

 alone. Id. ¶¶ 212-219.

        As noted in the fact section, although he did not need to perform this additional analysis,

 Dr. Mangum also estimated—through his production regression—the “but for” supply in the

 market. Many courts have relied on similar, mutually reinforcing, quantitative methodologies in

 certifying classes. See, e.g., In re Mushroom Direct Purchaser Antitrust Litig., No. 06-0620, 2015

 WL 5767415 at *17 (E.D. Pa. Jul. 29, 2015) (finding that regression and supply control test

 supported class certification); In re Processed Egg Products Antitrust Litig., No. 08-md-2002,

 2017 WL 3494221 (E.D. Pa. Aug. 14, 2017) (rejecting defendants attempt to decertify the class

 and relying, inter alia, on the overcharge and production regressions). Dr. Mangum’s empirical

 and rigorous analysis demonstrates that supply was artificially restrained during the conspiracy.

 The coefficients on the indicator variables are again statistically significant at the 99% level. The




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 results of Dr. Mangum’s production regression are significant for three reasons: first, they support

 the inference that Defendants’ engaged in the alleged conspiracy; second, they empirically

 demonstrate that supply was artificially restrained; and third, they are supportive of Dr. Mangum’s

 findings with respect to his direct purchaser overcharge regression.

                        b.      Dr. Mangum’s structural analysis of the market is common
                                evidence of widespread overcharges and impact

        Courts routinely accept expert opinion concerning the structural characteristics of a market

 in support of common impact and class certification in antitrust conspiracy cases. See, e.g., High

 Fructose, 295 F.3d at 656 (crediting expert opinion that market structure conducive to cartelization

 and common impact); In re Blood Reagents Antitrust Litig., MDL No. 09-2081, 2015 WL

 6123211, at *31 (E.D. Pa. Oct. 19, 2015) (“Many courts have accepted market-structure analyses

 in finding predominance with respect to antitrust impact.”); Air Cargo, 2014 WL 7882100, at *48

 (accepting industrial organization analysis of the airfreight market and certifying the class); Fond

 du Lac Bumper Exch., Inc. v. Jui Li Enter, Co., No. 09-cv-0852, 2016 2016 WL 3579953 at *7,

 10 (E.D. Wis. June 24, 2016) (finding market structure analysis as supportive of class

 certification); In re Titanium Dioxide Antitrust Litig., 284 F.R.D. 328, 341 (D. Md. 2012) (same);

 In re Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606, 627 (N.D. Cal. 2015) (“CRTs II”).

        In his structural analysis, Dr. Mangum not only concludes that the Broiler market was

 susceptible to cartelization, but that in light of its market characteristics, impact would be

 widespread, causing damage to all, or nearly all, direct purchasers. Dr. Mangum’s analysis of the

 structure of the Broilers markets shows: market power by the cartel firms, the indisputable

 commodity nature of the products, significant barriers to entry, vertical integration, the widespread

 use of extensive (and granular) data sharing in the industry, and the industry’s pervasive use of

 formulaic and index pricing, among other factors. Mangum Report ¶¶ 58-135; 151-165. These



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 structural characteristics are common to the CIIPP Classes and will be presented to the jury as

 common evidence.

         In affirming the grant of class certification in Kleen Products, the Seventh Circuit noted

 that “this was a commodity market with a structure conducive to collusion” and also found that

 use of pricing indexes to be indicative of common impact. Kleen Products, 831 F.3d at 925; and

 see High Fructose, 295 F.3d at 658 (same). The ubiquity of price indices such as the Urner Barry

 and Georgia Dock, and parallel movement of actual defendant prices with those indices

 demonstrates common impact. Kleen, 31 F.3d at 925. Dr. Mangum’s structural analysis of the

 Broiler market is yet another methodology—in addition to his multiple regression analysis and his

 price correlation analyses—that is capable of demonstrating class wide impact and damages.

                          c.      Dr. Mangum’s Price Correlation Analyses is Evidence of
                                  Common Impact

         In addition to the foregoing empirical work, Dr. Mangum also explored the degree to which

 the three Broiler parts exhibited signs of price correlation. 17 Dr. Mangum looked at price

 correlation by part in a variety of ways, including the degree to which they are correlated (a) to

 pricing indexes; 18 (b) across Defendants; 19 (c) across geographic regions; 20 and (d) across

 individual customers. 21 Mangum Report ¶¶ 170-178. As Dr. Mangum testifies, “[t]his empirical




 17
    Price correlation analyses were described supra at 24.
 18
    To demonstrate that, to the extent collusive supply restrictions and other collusive conduct alter the
 market equilibrium and thus price indexes, CIIPPs would be impacted based on the prices they paid.
 19
    To demonstrate that CIIPPs could not have avoided the overcharge by buying from certain members of
 the cartel because not only do the individual parts move together in response to common stimuli, but they
 also move together by Defendant.
 20
    To demonstrate that CIIPPs could not have avoided the overcharge to the extent that they lived in different
 geographic areas.
 21
    To demonstrate that CIIPPs could not have avoided the overcharge based on the size or sophistication of
 the customer.


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 analysis is further evidence that no individual direct purchaser could have avoided the impact of

 the alleged conspiracy.” Mangum Report ¶¶ 170.

        Many courts have found that price correlation analyses—such as Dr. Mangum’s here—are

 scientifically rigorous, supportive of class certification, and bolster the conclusion of common

 impact. See Kleen Products, LLC, 831 F.3d at 928 (finding prices correlated to each other and

 price indexes as supportive of common impact and class certification); In re Processed Egg

 Products Antitrust Litig., 312 F.R.D. 171, 187-88 (E.D. Pa. 2015) (commenting favorably on price

 correlation and co-movement analysis); CRTs II, 308 F.R.D. 606, 629 (N.D. Cal. 2015) (“use of

 regression and correlation analysis is well established as a means of providing classwide proof of

 antitrust injury and damages.”); In re High-Tech Employee Antitrust Litig., 985 F.Supp.2d 1167,

 1221 (N.D. Cal. 2013) (correlation analyses, along with the other expert theories “are capable of

 demonstrating causation on a class-wide basis.”).

        Here, Dr. Mangum’s price correlation analyses demonstrate robust results, showing that

 the prices move together in response to common stimuli. The part prices are highly correlated (a)

 to price indexes, (b) across Defendants, (c) across customers, and (d) across geographic regions.

 In combination with Dr. Mangum’s other quantitative and qualitative work, the price correlation

 analyses are further evidence in support of common impact and class certification.

                       d.      “Pass-Through” of the Overcharges Can be Established
                               Through Common Evidence

        In addition to running all of the foregoing empirical tests, Dr. Mangum also conducted

 multiple regression analysis to determine whether the overcharges were passed through to CIIPPs.

 Class Counsel subpoenaed substantial quantities of transactional data—both purchase and sales

 data—from non-party food service distributors. Dr. Mangum estimates that he received

 approximately 65% of the overall nonparty distributor data of Broilers sold from Defendants to



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 CIIPPs. Mangum Report ¶ 247. This is no small feat. In Class Counsel’s experience—experience

 that includes prosecuting multiple indirect purchaser cases—this is extraordinary. It is rare that

 indirect purchasers are able to obtain this high of a percentage of overall data from the intermediary

 in the chain of distribution. The robustness of the data received from the non-parties enhances the

 precision and power of Dr. Mangum’s pass-through analysis. Dr. Mangum’s task was made

 simpler by the straightforward distribution chain alleged in this case: the CIIPP Classes consist of

 individuals and entities that purchased raw Broilers from food service distributors. Dr. Mangum’s

 pass-through regressions include millions of observations. Not surprisingly, given the nature of

 the market, the distribution chain, testimonial evidence, and economic theory, Mangum’s models

 show substantial, statistically significant pass-through rates. Mangum Report ¶¶ 229-254.

         And moreover, as noted, it is not surprising that CIIPPs found pass-through. Indeed, pass-

 through is a feature of this market and would be expected. If food service distributors were not

 passing along the overcharge, they would be out of business. This distribution chain is simple: this

 is not an indirect purchaser case where the class purchased a finished product that had a price-

 fixed component part like, for example, the LCDs litigation where the price-fixed component was

 the liquid display panel and the indirect purchasers purchased finished LCD TV sets. See LCDs

 II. 22 The CIIPP class is defined as entities that purchased raw Broilers from distributors that in

 turn purchased the same Broilers from the Defendants. The Broilers that the CIIPPs purchased did

 not pass through multiple distribution chains; they were not incorporated into a larger, more

 complex product where tracing the overcharge and allocating it to a component part might prove



 22
    It bears noting that even in this complicated distribution chain, courts nevertheless certify indirect
 purchaser classes and find pass through. See id.; see also SRAM I, 264 F.R.D. 603 (N.D. Cal. 2009)
 (certifying a class of indirect purchasers where price-fixed SRAM incorporated into a range of highly,
 complex electronic products, including computers); CRTs I, 2013 WL 5391159 at *7 (N.D. Cal. Sept. 24,
 2013) (overcharge on CRT tubes passed through the end-product TVs).


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 difficult; and the Broilers remain unchanged from the Defendants to the CIIPP class. The

 intermediaries in this chain purchase broilers; mark them up; and sell them to CIIPPs. There could

 hardly be a more straightforward pass-through case. CIIPPs have demonstrated pass through on a

 common basis.

                        e.     Aggregate Damages Demonstrates that Common Issues
                               Predominate

        As many courts have held, including the Seventh Circuit, a computation of aggregate

 damages in price-fixing cases is permitted. See, e.g., Kleen Products Inc., 831 F.3d at 929 (finding

 aggregate damages appropriate); NEWBERG          ON   CLASS ACTIONS, § 10.05 (4th Ed. 2005)

 (“aggregate computation of class monetary relief is lawful and proper.”); see also In re TFT-LCD

 (Flat Panel) Antitrust Litig., No. M 07-1827 SI, 2012 WL 253298, at *5 (N.D. Cal. Jan. 26, 2012)

 (“the use of aggregate damages in antitrust cases has been approved numerous times”); In re:

 High-Tech Employee Antitrust Litig., 985 F. Supp. 2d 1167, 1223-26 (N.D. Cal. 2013) (same).

        Here, given the multiple quantitative methodologies produced by Dr. Mangum

 demonstrating common impact, he has developed a formulaic method for calculating aggregate

 damages to the CIIPP classes. Mangum Report ¶¶ 255-263. That CIIPPs have proffered such a

 method demonstrates that class certification is appropriate for this additional reason.

                        f.     Alleged Intricacies in the Market Do Not Defeat Class
                               Certification

        As is the standard playbook, Defendants will likely argue that the market at issue in this

 case is too complex; the products too varied; the pricing processes too intricate; the intervening

 catastrophes too great; or the experts failed to use some variable that would have made all the

 difference; or, likely, some combination of all of the foregoing. These likely arguments ignore

 that these alleged market intricacies do not preclude class certification, as many courts have held.




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 Courts have certified antitrust class action cases even where the markets at issue are far more

 complex, the products far more varied, with pricing processes that were far more convoluted than

 those prevailing in this case. See, e.g., Kleen Products Inc., 831 F.3d at 925 (individual customer

 negotiations does not preclude class certification or common impact); aff’d sub nom, 831 F.3d at

 928-29 (“Even for transactions where prices were negotiated individually or a longer term contract

 existed, the district court found, reasonably, that the starting point for those negotiations would be

 higher if the market price for the product was artificially inflated.”).

        Indeed, the court in the microcrystalline case stated it best, finding “[t]he bulk of the

 evidence presented in opposition to class certification attempts to convince me that there are

 enough complications in the MCC market that I should not expect the market to behave as a

 simplified economic model would predict . . . Antitrust cases nearly always require some

 speculation as to what would have happened under competitive conditions . . . but this is not fatal

 to class certification.” In re Microcrystalline Cellulose Antitrust Litig., 218 F.R.D. 79, 92–93 (E.D.

 Pa. 2003); In re Vitamins Antitrust Litig., 209 F.R.D. 251, 263 (D.D.C. 2002) (rejecting arguments

 that the market was too complicated to model and certifying the class); In re Fine Paper Antitrust

 Litig., 82 F.R.D. 143, 151-52 (E.D. Pa. 1979) (granting certification despite concerns about

 diversity of product, marketing practices, and pricing in conspiracy cases because conspiracy is

 “the overriding predominant question); In re Mercedes-Benz Antitrust Litig., 213 F.R.D. 180, 187

 (D.N.J. 2003) (rejecting contention that “the idiosyncrasies of each transaction also preclude the

 possibility that common issues will predominate on the element of impact.”); In re Urethane

 Antitrust Litig., 768 F.3d 1245, 1254 (10th Cir. 2014) (rejecting the contention that pricing

 negotiations negates common impact and class certification).




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         Here, there is no dispute that Broilers are the very definition of a commodity product, as

 Defendants regard them as such. Thus, they are priced as a commodity product—meaning their

 pricing rises and falls according to normal supply and demand mechanisms. And given that they

 are commodity products and that the very point of the collusion was to raise the market price of

 Broilers, the prices CIIPPs paid moved together, thus causing common impact. Dr. Mangum’s

 models empirically test whether the foregoing is true and answer the question, unsurprisingly, in

 the affirmative. Further, as noted, this is not a case where the price-fixed products pass-through

 elaborate distribution chains; or even multiple levels of complex distribution chains. The product

 is a raw Broiler; and it makes its way to the CIIPP class in the same way it leaves Defendants’

 premises. Whatever complexities Defendants attempt to erect cannot hide the fact that the product

 and distribution chain in this case are simple.

                 3.      The Class Action Device is Superior

         Rule 23(b)(3) requires that the class action be “superior to other available methods for

 fairly and efficiently adjudicating the controversy.” In antitrust conspiracy cases, courts generally

 have ruled that the superiority prerequisite of Rule 23(b)(3) is satisfied where common questions

 predominate. LCD I, 267 F.R.D. at 314. Moreover, the more claimants there are, the “more likely

 a class action is to yield substantial economies in litigation.” Carnegie v. Household Int'l, Inc., 376

 F.3d 656, 661 (7th Cir. 2004). Similarly, as the district court stated in certifying the class in Kohen,

 “[c]onsidering that the size of the potential class is estimated at over one thousand, the class action

 is a superior method for adjudicating this case. Class actions permit pooled claims that otherwise

 would be uneconomical to litigate individually….” 244 F.R.D. at 480-81; Quinn v. Specialized

 Loan Servicing, LLC, 331 F.R.D. 126, 134 (N.D. Ill. 2019) (“Class actions are also desirable where

 collective treatment would achieve economies of time, effort, and expense….”)




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         Here, the class action device is undoubtedly superior to alternative methods of litigation.

 Just as in Carnegie and Kohen, the CIIPP class is comprised of hundreds of thousands of

 commercial food preparers geographically dispersed throughout the United States in all of the

 Indirect Purchaser States. The class device, therefore, will achieve real economies and efficiencies

 and given the predominance of common issues, will decide the liability and damages questions

 against Defendants in one stroke. See Kleen Products, 831 F.3d at 922 (finding a class action, in

 a case much like this one, superior because “the determination of the aggregate classwide damages

 is something that can be handled most efficiently as a class action, and the allocation of that total

 sum among the class members can be managed individually, should the case ever reach that point.

 If in the end the Defendants win on the merits, this entire matter will be over in one fell swoop.”).

         The manageability of the class is also an element of superiority, although the bar is low.

 The Seventh Circuit has recognized that, “refusing to certify on manageability grounds alone

 should be the last resort.” Mullins v. Direct Digital, LLC, 795 F.3d 654, 664 (7th Cir. 2015).

 Although not required, CIIPPs submit a Proposed Trial Plan which addresses the common issues

 to be tried, and describes the claims administration process to allocate an award of damages, should

 CIIPPs prevail. Moreover, manageability has already been demonstrated, as this case has been

 and will continue to be successfully managed as a class action alongside the two related classes of

 purchasers. There is nothing about the size or composition of the CIIPP class that has prevented

 the litigation from moving forward, nor do any obstacles exist that would prevent a trial on

 common issues of whether defendants conspired, whether there was class wide impact, and

 aggregate damages.

 IV.     CONCLUSION

         For all of the foregoing reasons, CIIPPs respectfully request that the Court grant the motion

 for class certification in its entirety.


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                                      Respectfully Submitted:

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